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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

______________________________________

UNITED STATES OF AMERICA, et al.,

               Plaintiffs,                                    No. 1:79-cv-988-LJV

               -v-

HOOKER CHEMICAL CORP., et al.,

            Defendants.
______________________________________

                                        STATUS REPORT

       Plaintiff United States of America, on behalf of the United States Environmental

Protection Agency (“EPA”), hereby submits an updated status report in the above-captioned

case, as previously directed by the Court. This status report updates the prior status reports filed

by Plaintiff on July 1, 2019 (Doc. 349), September 27, 2019 (Doc. 353), January 28, 2020 (Doc.

355), May 29, 2020 (Doc. 357), December 14, 2020 (Doc. 359), and June 14, 2021 (Doc. 361).

       EPA and the New York Department of Environmental Conservation (“DEC”) have been

evaluating a proposal made by Occidental Chemical Corp. (“OCC”) to use extraction of dense

non-aqueous phase liquids (“DNAPL”) from the contaminated groundwater plume associated

with the Superfund site that is the subject of this case as an alternative to placement of a grout

curtain to contain DNAPL migration from the site, which was a component of the original

remedy to be implemented in this case. It had been decided and agreed by all parties that a pump

test was necessary to provide answers to certain remaining questions raised by EPA and DEC

regarding OCC’s extraction proposal.

       After several delays, the pump test was performed by OCC’s environmental contractor in

April 2020. A complete Migration Evaluation Report (“Revised Effectiveness Evaluation
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Shallow Bedrock NAPL Recovery System, Hooker S-Area Landfill, Niagara Falls, New York”)

containing data, findings, and conclusions was ultimately received by EPA and DEC in its final

form on December 3, 2020, as reported in the previous Status Reports filed with the Court in this

matter. As reported in the Status Report submitted on June 14, 2021, this Migration Evaluation

Report underwent a thorough review and analysis by EPA’s Office of Research and

Development and its Regional Technical Support Geologist. Based on this review and analysis,

it was determined by EPA and DEC that additional field work would be needed to make a

determination that the DNAPL extraction remediation being conducted by OCC is adequately

and effectively controlling the migration of the site contamination under the Niagara River

without the need for construction of the grout curtain called for in the Stipulation Agreement

entered in this case.

        EPA and NYSDEC initially provided their detailed findings to OCC in May 2021.

Necessary monitoring of subsurface site conditions had been reduced due to the conversion of

some monitoring wells to extraction wells, diminishing the ability to understand how well the

extraction system is working. EPA and NYSDEC found that the understanding of DNAPL flow

at the site as presented by OCC in the Migration Evaluation Report is incomplete, and that the

loss of the information previously provided by these converted wells is one reason for this

incomplete understanding. EPA and NYSDEC determined that some of the converted

monitoring wells need to be replaced by new monitoring wells before the agencies can

adequately determine whether the site DNAPL no longer migrates from the S-Area facility.

        On August 26, 2021, representatives of EPA and NYSDEC met with OCC to further

discuss their findings and to determine whether OCC would be willing to perform the necessary

additional work. This additional work would include the installation of an approved additional
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array of monitoring wells to fill data gaps, improve monitoring, and supplement past

calculations. Following the monitoring well installation, a step-down pumping test would be

required to determine the effects of the pumping across the more extensive monitoring network.

       OCC has agreed to perform the additional work. EPA and NYSDEC are currently

awaiting OCC to provide a schedule for the submission of a work plan to install the additional

monitoring wells. It is expected that the additional work and evaluation will take a year or two

to complete. If the grout curtain is determined to be needed, that would likely involve an

additional year to complete, at a minimum.

       As indicated in the previous status reports, this issue may well be resolved without the

need for judicial involvement, but a need for the Court’s involvement cannot be ruled out

entirely. Given the nature of the current unresolved issue regarding DNAPL migration, the

Court may desire to keep this case open at present.

       Respectfully submitted this 17th day of December, 2021.

                                                      s/ Steven A. Keller
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                                CERTIFICATE OF SERVICE

       Undersigned counsel hereby certifies that on this 17th day of December, 2021, copies of

the foregoing were served by United States Postal Service on the following parties at the last-

known address of their counsel in this matter:

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                                                       s/ Steven A. Keller
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